        Case 1:15-md-02657-FDS Document 1782 Filed 01/03/20 Page 1 of 5



                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



 IN RE: ZOFRAN® (ONDANSETRON)                                 MDL no. 1:15-md-2657-FDS
 PRODUCTS LIABILITY LITIGATION
                                                              This document relates to:

                                                              All Actions




          DEFENDANT GLAXOSMITHKLINE LLC’S RESPONSE TO
    PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY REGARDING
GSK’S MOTION FOR SUMMARY JUDGMENT BASED ON FEDERAL PREEMPTION


       Defendant GlaxoSmithKline LLC (“GSK”) respectfully submits this response to Plaintiffs’

Notice of Supplemental Authority (ECF No. 1778) regarding GSK’s pending Renewed Motion for

Summary Judgment on Preemption (ECF No. 1594). Plaintiffs have pointed this Court to the Third

Circuit’s decision in In re Avandia Marketing, Sales and Products Liability Litigation, No. 18-

1010 (3d Cir. Dec. 17, 2019), which involves a diabetes drug with a distinct regulatory history.

To be clear, GSK believes that the Third Circuit wrongly decided Avandia. But even accepting

the Third Circuit’s reasoning, Avandia has no bearing on this case. Plaintiffs’ supplemental notice

overlooks important distinctions between the two cases relevant to the Third Circuit’s reasoning.

       First, Plaintiffs highlight the Third Circuit’s discussion of FDA’s letter request for more

information in Avandia. The Third Circuit stated that, in declining to approve GSK’s Prior

Approval Supplement proposing to add cardiac warnings regarding Avandia, FDA found that “the

information presented [was] inadequate,” “concluded that the . . . data require[d] further analysis,”

and “directed GSK to provide additional information to address the deficiency.” In re Avandia,

slip op. at 7, 8 (citation omitted) (internal quotation marks omitted) (alterations in original). On

                                                 1
        Case 1:15-md-02657-FDS Document 1782 Filed 01/03/20 Page 2 of 5



this basis, the Third Circuit reasoned that FDA was not “fully informed . . . of the justifications for

the warning,” id. at 16 (quoting Merck Sharp & Dohme Corp. v. Albrecht, 139 S. Ct. 1668, 1679

(2019)), because “FDA itself stated that it was ‘inadequate[ly]’ informed of the justifications for

the warning,” id. at 16-17 (citation omitted) (alteration in original). Here, FDA’s clear repeated

rejections of increased pregnancy warnings for Zofran in no way expressed a judgment that the

information underlying the labeling-change requests was inadequate for FDA to render a decision.

See GSK Br. 7-12.1 To the contrary, for example, FDA informed Novartis when it rejected its

proposed labeling change that “there is no evidence, nonclinical or mechanism of action, that raises

concerns for adverse fetal outcomes with Zofran.” Id. at 20, 39 (citing Ex. 39 at -4451).2

       The Avandia court also invoked these facts to conclude that FDA did not inform GSK that

it “would not approve changing the drug’s label to include [the relevant] warning,” as required by

Albrecht. Slip op. at 18 (quoting Albrecht, 139 S. Ct. at 1678) (alteration in original). It thus

concluded that FDA did not “mak[e] a final determination” in response to GSK’s request. See id.

at 19. Plaintiffs have never argued here that FDA did not reach final determinations on the

Reichmann citizen petition and Novartis’ proposed labeling change. That concession is for good



1
  References to “GSK Br.” are to the proposed version of GSK’s brief that reflects this Court’s
ruling on the motion to strike. See ECF No. 1681-1. But each of the points referenced herein is
also contained in GSK’s original brief.
2
 In a footnote, Plaintiffs contend that FDA’s “request” in its letter denying GSK’s Prior Approval
Supplement in Avandia is “strikingly similar” to FDA’s request in a 2014 redlined comment for
“full details” of animal reproductive studies. See ECF No. 1778 at 2 n.1. Plaintiffs, however, do
not explain this “similar[ity].” That, perhaps, is because when FDA considered all of the Zofran
data, FDA concluded that no labeling change was justified—not that the information it had was
“deficient.” Furthermore, in the case of Zofran, there was ample reliable human epidemiological
and other evidence that refuted any potential concern about Zofran use in pregnant women. See
GSK Br. 12-14.




                                                  2
        Case 1:15-md-02657-FDS Document 1782 Filed 01/03/20 Page 3 of 5



reason: both actions are official decisions “taken pursuant to the FDA’s congressionally delegated

authority” rejecting enhanced warnings. Albrecht, 139 S. Ct. at 1679; see GSK Br. 48-50.

       Second, Plaintiffs quote the Third Circuit’s observation that, “[a]t most, the Letter indicates

that it is possible that the FDA could have rejected the label change after receiving the various

data and information it requested from GSK.” In re Avandia, slip op. at 19. They omit, however,

the rest of the quoted paragraph, in which the Third Circuit noted that FDA did in fact order “GSK

to include various warnings regarding cardiac risks on Avandia’s label shortly after issuing the

Letter.” Id. As this Court has repeatedly acknowledged, FDA has never approved or required a

Zofran labeling change to strengthen Zofran’s pregnancy warnings.                Instead, FDA has

conclusively rejected such warnings twice. See GSK Br. 7-12.

       Finally, unlike in Avandia, FDA is currently considering GSK’s citizen petition with the

information that Plaintiffs contend would have been material to FDA’s Zofran labeling decisions,

including the Japanese animal studies. To be clear, nothing in Avandia supports a conclusion that

the animal studies—which did not reveal evidence of causal association and which GSK correctly

described to FDA as repetitive of previous submissions—are material. See id. at 29-38. But, to

the extent the Court has any doubts in discharging its duty to decide preemption as a matter of law,

it can await FDA’s decision on GSK’s citizen petition.

       For the foregoing reasons, the Avandia decision does not affect GSK’s entitlement to

summary judgment in this case. The Court should grant GSK’s Renewed Motion for Summary

Judgment on Preemption.




                                                 3
       Case 1:15-md-02657-FDS Document 1782 Filed 01/03/20 Page 4 of 5



Dated: January 3, 2020
                                   Respectfully submitted,
                                   GLAXOSMITHKLINE LLC,
                                   By its attorneys,

                                   /s/ Jennifer Stonecipher Hill
                                   Madeleine M. McDonough
                                   Jennifer M. Stevenson
                                   Jennifer Stonecipher Hill
                                   SHOOK, HARDY & BACON L.L.P.
                                   2555 Grand Blvd
                                   Kansas City, MO 64108
                                   Telephone: (816) 474-6550
                                   Facsimile: (816) 421-5547
                                   mmcdonough@shb.com
                                   jstevenson@shb.com
                                   jshill@shb.com
                                   Admitted pro hac vice

                                   Lisa S. Blatt
                                   Amy Mason Saharia
                                   WILLIAMS & CONNOLLY LLP
                                   725 Twelfth Street, N.W.
                                   Washington, DC 20005
                                   Telephone: (202) 434-5000
                                   Facsimile: (202) 434-5029
                                   lblatt@wc.com
                                   asaharia@wc.com
                                   Admitted pro hac vice

                                   Attorneys for Defendant GlaxoSmithKline LLC




                                      4
       Case 1:15-md-02657-FDS Document 1782 Filed 01/03/20 Page 5 of 5



                                CERTIFICATE OF SERVICE

I hereby certify that the foregoing document, which was filed with the Court through the CM/ECF
system, will be sent electronically to all registered participants as identified on the Notice of
Electronic Filing (“NEF”) and paper copies will be sent via first class mail to those identified as
non-registered participants.

                                             /s/ Jennifer Stonecipher Hill
                                             Jennifer Stonecipher Hill




                                                5
